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                                                                               I   .   .


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS



I n Re: Petitions for Retroactive
Application of Amendment to
Sentences Previously Imposed for
Certain Crack Cocaine Offenses                           No.      02.
                             ADMINISTRATIVE ORDER

Herndon, Chief Judge:

              The United States Sentencing Commission (USSC) has reduced
somewhat the longstanding disparity between sentences recommended by it for
powder cocaine and crack cocaine i~ the advisory sentencing guidelines. The
prospective effective date was Noverhber 1, 2007. In the exercise of its lawful
authority, the Commission decided to make its advisory guidelines for these offenses,
under certain circumstances upon the appropriate findings of the presiding judge,
retroactive. However, the effective dqte of this retroactive application is not until
March 3, 2008. Consequently, the Caurt cannot act on any petitions requesting a
reduction in sentence prior to that date.

              This Court, en banc, has determined that any petitions filed prior to that
date will be stayed until March 3,2008. However, regardless of that stay, the Federal
Public Defenders Ofice (FPD) is hereby designated to represent each defendant
(petitioner)who files such a petition or motion, by whatever nomenclature the litigant
places on the document. The Public Defenders Office shall thereupon decide
specificallywhich attorney within the oimce shall individually be assigned which files.
Should the FPD determine there is a conflict for that particular defendant, it shall
enlist the FPD of the Eastern District of Missouri for representation of that defendant
through the interoffice agreement it ha^ worked out with that office for that purpose.
If the FPD plans to file an amended petitiodmotion for reduction, it may do so on
March 3, 2008, but it shall provide courtesy copies to the U.S. Attorney's office on
February 27, 2008.

               The U.S. Attorney's Officq is not required to file a response to any such
filing (petition or motion) so filed by @e defendant seeking a reduction until March
10, 2008. Prior to that date, the Court in concert with the U.S. Attorney's office and
the FPD will work together to determifie the procedural and logistical issues relative
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     to the handling of such cases. The USSC has identified 27 defendants who will be
I    eligible for immediate release, if the presiding judge so determines, in March, with
     another 25 within the first year after the amendment. Priority in sequence of
     handling will be accorded those first 27 who are potentially eligible immediately and
     the next 25 thereafter. It is noted that the U.S. Attorney's office and the FPD have
     consented, in general principle, to otilizing video conferencing equipment when
     possible.
                   The clerks office is directed to implement this order by entering the FPD
     as attorney of record in each case relevant to the issues discussed in this order,
     sending a copy of this order to the defiendant, petitioner, movant, litigant who seeks
     to have his sentence reduced pursua.pt to the USSC amendment and who files his
     moving document prior to March 3, 2008, and to send copies of this order to the
     FPD, U.S. Attorney and posting it on 'the District Court's website.




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           IT IS SO ORDERED.

           Signed this 19th day of December, 2007.


                                                    bLdd/&,f&L?
                                                   Chief Judge
                                                   United States District Court
